

People v Scipio (2025 NY Slip Op 02416)





People v Scipio


2025 NY Slip Op 02416


Decided on April 24, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 24, 2025

Before: Moulton, J.P., Mendez, Rodriguez, Pitt-Burke, Rosado, JJ. 


Ind No. 1007/20|Appeal No. 4167|Case No. 2021-03498|

[*1]The People of the State of New York, Respondent, 
vDesmomd Scipio, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Ji Hyun Rhim of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Andrew John Loizides of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Albert Lorenzo, J.), rendered September 22, 2021,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 24, 2025
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








